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 2                                      UNITED STATES DISTRICT COURT
 3                                          DISTRICT OF NEVADA
 4                                                    ***
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 7   UNITED STATES OF AMERICA,                           2:12-cr-00082-MMD-VCF
 8                         Plaintiff,                    MINUTE ORDER
 9   vs.

10   JAVIER PANUCO,

11                         Defendant.

12

13           Before the Court is Defendant Javier Panuco’s Unopposed Motion for an Order for Pre-trial
14   Services to Conduct an Interview with Defendant (#139).
15           On August 14, 2012, Defendant Javier Panuco filed the Unopposed Motion for Order to Pre-trial
16   Services to Conduct Defendant Interview (#142). The Unopposed Motion for Order to Pre-trial Services
17   to Conduct Defendant Interview (#142) repeats the request of the Unopposed Motion for an Order for
18   Pre-trial Services to Conduct an Interview with Defendant (#139). Judge Du entered an Order (#144)
19   granting the Unopposed Motion for Order to Pre-trial Services to Conduct Defendant Interview (#142)
20   on August 14, 2012.
21           IT IS HEREBY ORDERED that Defendant Javier Panuco’s Unopposed Motion for an Order for
22   Pre-trial Services to Conduct an Interview with Defendant (#139) is denied as Moot.
23           DATED this 15th day of August, 2012.
                                                               _________________________
24
                                                               CAM FERENBACH
25
                                                               UNITED STATES MAGISTRATE JUDGE
